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 5
     ATTORNEY FOR DEFENDANT
 6   KOUTKEO THI
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,     )                CR.-S-08-391-GEB
11                                 )
             PLAINTIFF,            )                STIPULATION AND PROPOSED ORDER
12                                 )                TO CONTINUE STATUS CONFERENCE
             v.                    )                TO OCTOBER 22, 2010
13                                 )
     KEOOUDONE N. PHAOUTHOUM, )
14   et al.,                       )
                                   )
15           DEFENDANTS.           )
     _______________________________)
16
17         Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney, Mr. Michael M. Beckwith, and defendant John Li, by his attorney Mr.
19   Johnny L. Griffin, III and defendant Koutkeo Thi, by her attorney Mr. James R.
20   Greiner, hereby stipulate and agree that the status conference calendared for Friday,
21   July 16, 2010, at 9:00 a.m. before the Honorable United States District Court Judge,
22   Garland E. Burrell, Jr., may be continued to Friday, October 22, 2010, at 9:00 a.m,
23   and excluding time under the Speedy Trial Act under local code T-2 for
24   complexity (Title 18 U.S.C. section 3161(h)(8)(B)(ii)) and T-4, reasonable time for
25   attorney preparation (Title 18 U.S.C. section 3161(h)(8)(B)(iv)).
26         The Court’s courtroom deputy, Ms. Shani Furstenau, has been contacted to
27   ensure the Court’s calendar was available for that date and the Court is available on
28                                              1
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 1   Friday, October 22, 2010.
 2         There is no trial date set.
 3         The Court has previously made a finding that this case is complex pursuant to
 4   the Speedy Trial Act, Title 18 U.S.C. section 3161(h)(8)(B)(ii) and local code T-2,
 5   which allowed the Court to make the finding that this case is so unusual or so
 6   complex, due to the number of defendants, the nature of the prosecution, or the
 7   existence of novel questions of fact or law, that it is unreasonable to expect adequate
 8   preparation for pretrial proceedings or the trial itself within the time limits established
 9   by the Speedy Trial Act. (See Docket Entries # 43, 52, 69, 85, 88, 94, 108 and 111).
10   In addition, the Court previously found from the record made with factual support,
11   that time is to be excluded under local code T-4, that time is to be excluded for the
12   reasonable time necessary for effective preparation by defense counsel and Title 18
13   U.S.C. section 3161(h)(8)(B)(iv), of the speedy trial act. (See Docket Entries # 43, 52,
14   69, 85, 88, 94 and 111)
15                          DISCOVERY STATUS IN THE CASE
16         To date, the government has produce approximately over 4,700 pages both on
17   CD’s and hard copy and approximately over 2,000 telephone calls of various time
18   duration. The defense is in the continuing process of reviewing this large amount of
19   discovery.
20         In addition, investigation by the defense is on going.
21         Further, the defense is continually evaluating the case in light of other
22   defendants entering into plea deals with the government.
23         In addition, the review of the over 2,000 telephone calls continues and is
24   continually being evaluated.
25         Finally, many of the defendants are in more than one indictment filed by the
26   government and the complexity of multiple defendants in the multiple indictments,
27   the complexity of the investigation based on multiple indictments, the complexity of
28                                               2
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 1   the legal issues in the multiple indictments and the complexity of attempting to
 2   discuss with the government any type of resolution is complex due to the complexity
 3   of multiple indictments.
 4          Finally, the additional time is agreed to by the parties as being reasonably
 5   necessary and prudent and outweighs all other interests in this case, to allow for
 6   further investigation and discussions between the parties in an attempt to resolve this
 7   case short of trial.
 8
 9                      SPEEDY TRIAL ACT EXCLUSION OF TIME
10          The parties stipulate and agree that time under the Speedy Trial Act shall
11   continue to be excluded up to and including Friday, October 22, 2010, under the
12   Speedy Trial Act under Local Code T-2 (complexity of case) and Title 18 U.S.C.
13   section 3161(h)(8)(B)(ii)and Local Code T-4 (time for defense counsel
14   preparation) and Title 18 U.S.C. section 3161(h)(8)(B)(iv).
15                                    Respectfully submitted,
                                      BENJAMIN B. WAGNER
16                                    UNITED STATES ATTORNEY
17                                    /s/ Michael M. Beckwith by e mail authorization
     DATED: 7-9-10                    _____________________________________
18                                    Michael M. Beckwith
                                      ASSISTANT UNITED STATES ATTORNEY
19
20   DATED: 7-9-10                    /s/ Johnny L. Griffin, III by e mail authorization
                                      ________________________________________
21                                    Johnny L. Griffin, III
                                      Attorney for Defendant John Li
22
     DATED: 7-9-10                    /s/ James R. Greiner
23                                    _______________________________________
                                      James R. Greiner
24                                    Attorney for Defendant Koutkeo Thi
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28                                               3
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 1                                     ORDER
 2
 3
          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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 5   Dated: July 15, 2010

 6
 7                                   GARLAND E. BURRELL, JR.
 8                                   United States District Judge

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